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Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 1 of 9 - Page ID#:.9

   

SEP 44 2018 |
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CIVIL ACTION NO, 18-Cl- S$ ( D

RAY CURTIS JONES, JR.
V. COMPLAINT

   

KROGER LIMITED PARTNERSHIP |
SERVE: Corporation Service Company, Registered Agent

421 West Main Street
Frankfort, KY 40601

THE KROGER CO.
SERVE: Corporation Service Company, Registered Agent

421 West Main Street
Frankfort, KY 40601

KROGER DEDICATED LOGISTICS CO.
SERVE: Corporation Service Company, Registered Agent

421 West Main Street
Frankfort, KY 40601.

PEYTON'S-SOUTHEASTERN, INC., D/B/A

PEYTON’S MID SOUTH COMPANY
SERVE: VIA KENTUCKY SECRETARY OF STATE

PURSUANT TO KRS 454.210

Corporation Service Company, Registered Agent

2908 Poston Avenue
Nashville, TN 37203-1312

SENTRY SELECT INSURANCE CO.
SERVE: CT Corporation, Registered Agent
306 West Main Street, Suite 512

Frankfort, KY 40601

UNKNOWN DEFENDANT(S)
SERVE: WARNING ORDER ATTORNEY

 
   

CIRCUIT COURT
PLAINTIFF

DEFENDANTS

Comes now the Plaintiff, Ray Curtis Jones, Jr., by counsel, and for his Complaint

against the Defendants herein, states as follows: |

Plaintiff is, and was at all times relevant, a resident of Portland, TN.

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EXHIBIT

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Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 2 of 9 - Page ID#:. 10

ll
Defendant Kroger Limited Partnership | is a foreign partnership registered with
the Kentucky Secretary of State, with its principal office located at 1014 Vine Street,
Cincinnati, OH 45202. This Defendant may be served with process by delivery of
summons and a true and accurate copy of this Complaint to its registered agent for
service of process, Corporation Service Company, 421 West Main Street, Frankfort, KY
40604,
tT
Defendant The Kroger Co. is a foreign corporation registered with the Kentucky
Secretary of State, with its principal office located at 1014 Vine Street, Cincinnati, OH
45202. This Defendant may be served with process by delivery of summons and a true
and accurate copy of this Complaint to its registered agent for service of process,
Corporation Service Company, 421 West Main Street, Frankfort, KY 40601.
IV
Defendant Kroger Dedicated Logistics Co. is a foreign corporation registered with
the Kentucky Secretary of State, with its principal office located at 1014 Vine Street,
Cincinnati, OH 45202. This Defendant may be served with process by delivery of
summons and a true and accurate copy of this Complaint to its registered agent for
service of process, Corporation Service Company, 421 West Main Street, Frankfort, KY
40601.
7
Defendant Peyton’s-Southeastern, Inc. d/b/a Peyton's Mid-South Company

(‘Peyton’s) is-a Tennessee corporation with its principal office located at 1014 Vine
Case: 5:19-cv-00032-DCR_Doc #: 1-2._Filed: 02/04/19 Page: 3 of 9 - Page ID#:.11

Street, Cincinnati, OH 45202. This Defendant may be served with process by delivery
of summons and a true and accurate copy of this Complaint to the Kentucky Secretary
of State. The Secretary of State is respectfully notified that this Defendant's registered
agent for service of process is Corporation Service Company, 2908 Poston Avenue,
Nashville, TN 37203-1312. |
vi
Defendant.Sentry Select Insurance Company (“Sentry”) is a Wisconsin insurance
company authorized to do the business of insurance in the Commonwealth of Kentucky,
with its principal office located at 1800 North Pointe Drive, Stevens Point, WI 54481.
Sentry may bs served with process by delivery of summons and a true and accurate
copy of this Complaint to its registered agent for service of process, CT Corporation,
306 West Main Street, Suite 512, Frankfort, KY 40601.
VI
The Unknown. Defendant(s) are those persons who were acting as the
employees, agents and/or servants of one or more of the Defendants who were loading
and/or moving the merchandise which fell on Plaintiff and caused his injuries. Service
of process should be served on the Unknown Defendant(s) via warning order attorney
and, when formally identified, pursuant to the Kentucky Rules of Civil Procedure.
Vill
On or about September 26, 2017, in Madison County, Kentucky, Plaintiff was
| seriously inure when, while assisting in unloading the trailer of a semi-truck at the

Kroger grocery store in Richmond, Kentucky, merchandise from a pallet toppled over on

to him.

 
Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 4 of 9 - Page ID#: 12

IX
The merchandise toppled over on to Plaintiff due to the negligence and
carelessness of the Unknown Defendant employee(s), agent(s) and/or servant(s) of one

or more of the Kroger Defendants, as he/they attempted to move the pallet off the

trailer.

X
Prior to making this delivery, Plaintiff's trailer was negligently and carelessly
loaded by Unknown Defendant(s) who are or were employee(s), agent(s) and/or
servant(s) of Peyton's, causing the merchandise to topple over while unloading.
| Xl
At all times pertinent hereto the Plaintiff exercised an appropriate degree of care
for his own safety. The subject incident and injuries were caused entirely by the
| negligence and carelessness of Unknown Defendant(s) who were employee(s),
agent(s) and/or servant(s) of the Kroger Defendants and/or Peyton's.
Xll
At all times pertinent hereto the Plaintiff fully and completely complied with the
terms and conditions of the Kentucky Motor Vehicle Reparations Act, KRS 304.39 et
seq.
Xill
Kroger Limited Partnership |, The Kroger Co., and/or Kroger Dedicated Logistics
Co. is/are vicariously liable for the negligent actions of its/their employee(s), agent(s)
and/or servant(s), who committed the aforementioned negligent act while acting in the

course and scope of employment, agency and/or servanthood with any of the Kroger
Case: 5:19-cv-00032-DCR__Doc #: 1-2._Filed:.02/04/19 Page: 5 of 9 - Page ID#:.13

Defendants, as he was performing work assigned by one or more of the Kroger

Defendants and was engaging in a course of conduct subject to the one or more of the

Kroger Defendants’ control.
XIV
Peyton's is vicariously liable for the negligent actions of its employee(s), agent(s)
and/or servant(s), who committed: the aforementioned negligent act while acting in the
course and scope of employment, agency and/or servanthood with Peyton's, as

he/she/they was/were performing work assigned by Peyton’s and was engaging in a

course of conduct subject to Peyton's control. -

XV
At the time of the subject incident Plaintiff was insured by Sentry pursuant to a
policy which included Basic Reparations Benefits (‘BRB/PIP”). The Plaintiff has fully

complied with his obligations under the Sentry policy and all conditions precedent have

occurred or been performed.

XVI
Plaintiff seeks BRB/PIP benefits pursuant to the terms of the contract of
insurance with Sentry and the MVRA.
| XVII
As a direct and proximate result of the negligence of Defendants herein, Plaintiff
has been injured and damaged. The monetary value of Plaintiff's injuries and damages
exceeds the minimum jurisdictional limits of this Court. Plaintiff's injuries and damages

include, but are not specifically limited to:

(a) Medical bills and related expenses, past, present and future;
Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 6 of 9 - Page ID#: 14

(b) Lost wages and impairment of earning capacity;

(c) | Physical pain and mental suffering, past present and future; and

(d) Miscellaneous inconvenience and expense, past, present, and future.

Plaintiff seeks by this action to recover the full monetary value of his injuries and
damages together with all available interest at the maximum legal rate.

XVIll

The Madison Circuit Court has jurisdiction over the parties and the subject matter

of this litigation. This Court is the appropriate venue for resolution of all disputes as

between the parties hereto.

WHEREFORE, the Plaintiff, Ray Curtis Jones, Jr. respectfully prays this Court for

relief as follows:

(a) For judgment against each Defendant in an amount exceeding the

minimum jurisdictional limits of this Court, together with all available interest at the

maximum legal rate;

(b) For Plaintiff's costs incurred in pursuit of this action including reasonable

attorney’s fees to the extent permitted by law; and

(c) For any and all other relief to which it may appear Plaintiff is entitled, .

including a trial by jury.

This [$T* day of September, 2018.
Case: 5:19-cv-00032-DCR__Doc #:.1-2. Filed: 02/04/19 Page: 7 of 9 - Page ID#:.15

HUGHES & COLEMAN

1256 Campbell Lane, Suite 201
P. O. Box 10120

Bowling Green, KY 42102
(270) 782-6003 Exts. 209, 136
FAX (270) 843-0446

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Mariana Goff
Richard W. Hartsock

CERTIFICATION

The undersigned does hereby certify that the following entities have been notified of
the pendency of this action by provision of a true and accurate copy of this complaint via
certified mail, return receipt requested, for any and all purposes relating to subrogation
interests which might be asserted herein, underinsured motorist benefits, or any other
purpose which, under law, might mandate notice of the pendency of this action. Pursuant
to KRS 411.188, you are respectfully notified that failure to assert subrogation rights in this
case by intervention pursuant to Kentucky Civil Rule 24 will result in loss of those rights
with respect to any final award received by the plaintiff as a result of this action.

CERTIFIED MAIL — RETURN RECEIPT REQUESTED
Sentry Insurance Company

P. O. Box 8032
Stevens Point, WI 54481

IN RE: Our Client: Ray Curtis Jones, Jr.
Our File No.: 596741
Your Insured: Taylor & Son Trucking & Evacuating
Your Policy No.: A0001043007
DOI: 09/26/17

CERTIFIED MAIL - RETURN RECEIPT REQUESTED
Miles Tate

Mid Western Insurance Alliance

201 E. Main St., Suite 400

Murfreesboro, TN 37130

IN RE: Our Client: Ray Curtis Jones, Jr.
Our File No.: 596741
Your Insured: Taylor & Son Trucking & Evacuating
Your Claim No.: 804849
DOI: 09/26/17
Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 8 of 9 - Page ID#:.16

Tracy Wimer

Sedgwick Claims Management Services, Inc.
P. O. Box 14452

Lexington, KY 40512

IN RE: Our Client: Ray Curtis Jones, Jr.
Our File No.: 596741
Your Insured: K086 Kroger East/Peyton’s Mid-South
Your Claim No.: B830017404-0001-01
DOI: 09/26/17

This [B%bay of Septemper, 2078.

 

Counsel for Plaintiff —
Case: 5:19-cv-00032-DCR__Doc #: 1-2. Filed: 02/04/19 Page: 9 of 9 - Page ID#:.17

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Madison

 

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Rev. 1-07

Page 1 of 1

Commonwealth of Kentucky

Court of Justice www.courts.ky.gov
CR 4.02; CR Official Form 1

 

County

 

CIVIL SUMMONS

 

 

PLAINTIFF

Ray Curtis Jones, Jr.

VS.
DEFENDANT

Kroger Limited Partnership I

Service of Process Agent for Defendant:
Corporation Service Company

421 West Main Street

Frankfort Kentucky 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you

for the relief demanded in the attached CompPin:

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document

delivered to you with this Summons.
Date: q. 4 2 0 iS Alte Whicker Clerk
Hicese_ D.C.

 

 

 

 

Proof of Service
This Summons was served by delivering a true copy and the Complaint (or other initiating document) to

this day of ae

 

Served by:
Title

 

 

 

 

 

 
